                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                                Case No. 07-CR-123

DARIN BOWIE
                     Defendant.


                                            ORDER

       Defendant Darin Bowie moves for a sentence reduction under 18 U.S.C. § 3582(c)(2)

based on guideline amendment 782, which went into effect on November 1, 2014, and

generally reduces offense levels in drug trafficking cases by 2. The Sentencing Commission

designated this amendment for retroactive application, U.S.S.G. § 1B1.10(d), but provided that

the court shall not order a reduced term of imprisonment unless the effective date of the court’s

order is November 1, 2015, or later, U.S.S.G. § 1B1.10(e). The application notes explain that

the court may conduct sentence reduction proceedings after November 1, 2014, provided that

any order reducing the defendant’s term of imprisonment has an effective date of November

1, 2015, or later. U.S.S.G. § 1B1.10 cmt. n.6.

       IT IS ORDERED that the government respond to defendant’s motion on or before

November 24, 2014.

       Dated at Milwaukee, Wisconsin, this 3rd day of November, 2014.

                                          /s Lynn Adelman
                                          LYNN ADELMAN
                                          District Judge




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